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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,                    )
                                              )
                        Plaintiff,            )
                                              )
                 v.                           )         22-CR-228-JFH
                                              )
 Jerry Dee Keys and Cristi Lea Keys           )
                                              )
                       Defendant.             )



                              DECLARATION OF PUBLICATION

        In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules

 of Criminal Procedure, notice of the forfeiture was posted on an official government internet

 site (www.forfeiture.gov) for at least 30 consecutive days, beginning on December 22, 2023

 and ending on January 20, 2024. (See, Attachment 1).


       I declare under penalty of perjury that the foregoing is true and correct. Executed on

 January 24, 2024 at Tulsa, OK.

                                           /s/ Pam Kuch
                                           Pam Kuch
                                           Paralegal Specialist




                                                                                                 Exhibit A
